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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

THOMAS FICK ET AL.                                              CIVIL ACTION
   Plaintiffs

VERSUS                                                          No. 13-6608

EXXON MOBIL CORPORATION,                                        SECTION “E”
    Defendant

                                ORDER AND REASONS

        Before the Court is a motion in limine filed by Plaintiffs.1 The motion is opposed. 2

In this motion in limine, Plaintiffs seek to prevent the introduction of evidence with

respect to: (1) hurricanes or storms beyond the parameters discussed at the Pre-trial

Conference and (2) medical records obtained outside of the discovery process or without

signed HIPAA authorizations. The issue of medical records obtained outside of the

discovery process was addressed in a separate order. 3 This order will address only the

issue of evidence relating to hurricanes and storms and their effect on the movement of

flowlines and pipelines.

        Plaintiffs seek to exclude “any testimony concerning hurricanes/storms by any

witness, including, but not limited to expert witnesses, beyond the fact that hurricanes

occur, hurricanes have hit south Louisiana and that hurricanes can cause damage to

structures.” 4 Specifically, Plaintiffs seek to exclude “testimony about hurricanes moving

objects.” 5




1 R. Doc. 285.
2 R. Doc. 311.
3 R. Doc. 362.
4 R. Doc. 285-1 at 1.
5 Id.


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         A. Cheryl Nixon

         Plaintiffs contend Exxon’s corporate representative, Cheryl Nixon, testified during

her deposition that hurricanes or storms moved flowlines from an abandoned facility to

the allision site. Plaintiffs argue this theory originated from Exxon’s expert witness,

Dennis Manuel, and Nixon’s testimony with respect to the effect of hurricanes on the

flowlines is inadmissible under Rule 701 because she has no personal knowledge upon

which to base her testimony. 6

         With respect to the testimony of Cheryl Nixon, Exxon represents it has no intention

of presenting testimony through Ms. Nixon that hurricanes or storms moved flowlines or

pipelines from an abandoned facility to the allision site. 7 Exxon, however, argues Ms.

Nixon’s deposition testimony establishes she has “extensive personal knowledge

regarding ExxonMobil’s historic and customary practice of cutting and capping . . . lines

that run from wells that have been plugged and abandoned.” 8 Exxon contends Ms. Nixon

should be permitted to testify that “based on ExxonMobil’s practices, if a line remained

in the field that was once associated with an ExxonMobil well, it could be capped and not

broken-ended.” 9

         In the minute entry from the pre-trial conference, the Court ruled “that Cheryl

Nixon will not be allowed to testify about hurricanes.” 10 Plaintiffs’ motion with respect to

Ms. Nixon is moot, as Exxon stated it will not present testimony through Ms. Nixon that

hurricanes or storms moved flowlines or pipelines from an abandoned facility to the

allision site. Ms. Nixon will be allowed to testify about Exxon’s historic and customary


6 Id. at 2.
7 R. Doc. 311 at 1.
8 Id. at 1–2.
9 Id. at 2.
10 R. Doc. 270.


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practice of cutting and capping flowlines or pipelines that run from wells that have been

plugged and abandoned, so long as her testimony is based on her personal knowledge.11

Ms. Nixon, however, may not testify that, based on Exxon’s practices, if a line remained

in the field that was once associated with an Exxon well, it would be capped and not

broken-ended. This testimony is not within Ms. Nixon’s personal knowledge and amounts

to speculation.

        B. Dennis Manuel

        Plaintiffs also argue no other witness should be allowed to testify about hurricanes

or storms beyond the parameters set by the Court at the pre-trial conference. 12

        Exxon asserts Mr. Manuel will present testimony based on his experience and

observations that are within the scope of the Court’s order. 13 The Court has ruled Mr.

Manuel “may testify, based on his experience in the field, about his having personally

witnessed the effects of hurricanes on oil fields and hurricane surge tides moving pipes

and line segments. He can discuss the hurricane damage to the nearby abandoned tank

battery he observed when he was in the field with the survey crew.” 14

        The Plaintiffs too narrowly construe the Court’s ruling when they argue that no

witnesses should be allowed to testify “about hurricanes moving objects.” 15 Witnesses

may testify generally, if based on their own personal knowledge, that they are aware of

hurricane and surge tides moving pipes and line segments within oil fields. The Court

reiterates that Mr. Manuel may not testify as to the likelihood that particular flow lines


11 Exxon represents Ms. Nixon “does in fact have extensive personal knowledge regarding ExxonMobil’s
historic and customary practice of cutting and capping . . . lines that run from wells that have been plugged
or abandoned.” R. Doc. 311 at 2.
12 R. Doc. 285-1 at 2–3.
13 R. Doc. 311 at 2–3.
14 R. Doc. 115 at 9; R. Doc. 270.
15 R. Doc. 285-1 at 1.


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or pipelines in the D-15 well’s vicinity were moved by hurricane surge tide for two reasons.

First, he lacks personal knowledge that this occurred. Second, the Court found his opinion

to that effect contained in his expert report was not based on sufficient facts or data to be

the product of reliable principles and methods. 16 Finally, Mr. Manuel will not be allowed

to offer meteorological testimony about particular hurricanes that have affected South

Louisiana. 17

        C. Ralph Gipson

        With respect to Exxon’s expert, Ralph Gipson, Exxon contends Mr. Gipson will

present testimony that is consistent with the conclusions set forth in his expert report. In

his report, Mr. Gipson opines it is not uncommon for oil and gas infrastructure to be

moved by storm surge, the damage sustained to the LL&E facility was likely a result of

storm surge, the field at issue has been subject to the effect of numerous hurricanes and

storms, and it is more likely than not that the uncapped line segment involved in the

alleged allision was transported by storm surge from the LL&E facility to the site of the

allision. 18

        Exxon argues Plaintiffs did not file a Daubert motion to exclude or limit Mr.

Gipson’s testimony, and the deadline for filing such a motion has expired. 19 In the trial

court, challenges to an expert may be raised at any time, 20 although it is certainly

preferable and a party is more likely to succeed if the challenge is raised in compliance



16 R. Doc. 115 at 9; R. Doc. 270.
17 R. Doc. 270. The Court also ruled that Defendant’s exhibit #35 in the Pre-trial Order, Composite map
showing the paths of hurricanes and tropical storms making landfall in Southeast Louisiana form 1980 to
the present (Bates number EM-05649), intended to be introduced by Manuel, is inadmissible at trial.
18 Id. at 3.
19 Id. at 4.
20 The Advisory Committee’s notes to the 2000 amendments to Rule 702 state “the amendment makes no

attempt to set forth procedural requirements for exercising the trial court’s gatekeeping function over
expert testimony.” FED. R. EVID. 702, Advisory Committee Notes on 2000 Amendment.

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           with the scheduling order. The Court will treat the Plaintiffs’ motion in limine as a

Daubert motion with respect to Mr. Gipson’s expert testimony.

           Mr. Gipson may testify regarding hurricanes and storm surges within the same

parameters established for Mr. Manuel’s testimony. Mr. Gipson may testify based on his

personal knowledge of the effects of hurricanes on oil fields and hurricane surge tides

moving pipes and line segments. Mr. Gipson, however, may not testify as to whether the

particular flowlines or pipelines in the D-15 well’s vicinity were moved as a result of a

hurricane or storm surge tide. Exxon has provided no evidence that Mr. Gipson has

personal knowledge of these facts. Based on his expert report, 21 Mr. Gipson’s opinion with

respect to whether particular flowlines or pipelines in the D-15 well’s vicinity were moved

as a result of a hurricane or storm surge tide is not based on sufficient facts or data to be

the product of reliable principles and methods. Finally, Mr. Gipson will not be allowed to

offer meteorological testimony about particular hurricanes that have affected South

Louisiana.

           D. Ordis “Buddy” Smith

           With respect to the testimony of Exxon’s fact witness, Buddy Smith, Exxon intends

to elicit Mr. Smith’s testimony that he has personal knowledge of storm and hurricane

tidal surges moving oil and gas structures in the Bayou Jean Lacroix field. 22 Exxon argues

Mr. Smith’s testimony is admissible under Rule 602 because it is based on his personal

knowledge.




21   R. Doc. 311-2.
22   Id. at 4–5.
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        Mr. Smith is the Coastal Wetlands Operations Supervisor for LL&E. 23 Exxon

contends the results of his inspections are in the documents produced by LL&E, which

Exxon should be permitted to discuss at trial. 24

        Mr. Smith testified at his deposition that he inspected the Bayou Jean Lacroix field

after Hurricanes Ike and Gustav, as well as at other times. He will be allowed to give

testimony based on his personal observations during those inspections and other visits to

the property. He may testify about whether storm or hurricane tidal surges moved oil and

gas structures in the Bayou Jean Lacroix field only to the extent he has personal

knowledge of these facts. Mr. Smith may not testify as to whether the particular flowlines

or pipelines in the D-15 well’s vicinity were moved as a result of hurricane or storm surge

tide because, based on his deposition testimony, Mr. Smith has no knowledge of these

facts. 25 Finally, Mr. Smith will not be allowed to offer meteorological testimony about

particular hurricanes that have affected South Louisiana.

                                           CONCLUSION

        IT IS ORDERED that Plaintiffs’ omnibus motion in limine regarding testimony

about the effect of hurricanes and storms on flowlines and pipelines 26 is GRANTED IN

PART and DENIED IN PART as set forth above. 27


        New Orleans, Louisiana, this 5th day of January, 2017.


                           _____________________________
                                   SUSIE MORGAN
                           UNITED STATES DISTRICT JUDGE

23 Id.
24 Id. at 5.
25 Mr. Smith was offered only as a fact witness and not as an expert or a witness who will give lay opinion

testimony.
26 R. Doc. 285.
27 The ruling at the Pre-trial Conference, R. Doc. 270, is clarified as set forth herein.


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